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             In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                 (Filed: December 1, 2016)
                                        No. 15-770V

* * * * * * * * * * * * *                                     NOT FOR PUBLICATION
MICHAEL PURCELL,        *
                        *                                     Attorneys’ Fees and Costs;
         Petitioner,    *                                     Unopposed Motion.
                        *
v.                      *
                        *
SECRETARY OF HEALTH     *
AND HUMAN SERVICES,     *
                        *
         Respondent.    *
                        *
* * * * * * * * * * * * *

Matthew F. Belanger, Esq., Faraci Lange, LLP, Rochester, NY, for petitioner.
Heather Pearlman, Esq., US Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEY’S FEES AND COSTS1

Roth, Special Master:

        On July 23, 2015, Michael Purcell [“Mr. Purcell” or “petitioner”] filed a petition for
compensation, under the National Vaccine Injury Compensation Program.2 Petitioner alleged
that he developed viral encephalitis and acute retinal necrosis as a result of receiving influenza


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I
intend to post this decision on the United States Court of Federal Claims' website, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified
as amended at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), a party
has 14 days to identify and move to delete medical or other information, that satisfies the criteria
in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a motion for
redaction must include a proposed redacted decision. If, upon review, I agree that the identified
material fits within the requirements of that provision, I will delete such material from public
access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).


                                                  1
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vaccinations on October 30, 2012, October 17, 2013, and October 18, 2014. On August 31,
2016, I issued a decision awarding compensation to petitioner based on the parties’ stipulation.
Decision, issued Aug. 31, 2016, ECF No. 26.

       On November 29, 2016, petitioner filed an unopposed motion for attorneys’ fees and
costs. Motion, ECF No. 32.3 Petitioner requests attorneys’ fees in the amount of $42,962.50 and
attorneys’ costs in the amount of $6,398.04, for a total amount of $49,360.54. Id. at 2. In
accordance with General Order #9, petitioner’s counsel represents that petitioner incurred no out-
of-pocket expenses.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). In
general I find petitioner’s request to be reasonable. However, after reviewing the billing records
submitted, I noted that Mr. Belanger billed three hours for time spent traveling to and from and
attending a meeting with Dr. DiLoreto on April 30, 2015. Generally attorneys are only awarded
50% of their hourly rate for travel time. Shueman ex rel Schriver v. Sec’y of Health and Human
Servs., No. 04-693V, 2010 WL 3421956, at *2 (Fed. Cl. Aug. 11, 2010). In his supporting
documentation, Mr. Belanger did not separate the time he spent traveling to and from the
meeting from the time spent speaking with Dr. DiLoreto. My chambers inquired about travel
time and was informed that Mr. Belanger would have spent 30 minutes traveling to and from his
meeting with Dr. DiLoreto. Because Mr. Belanger claims an hourly rate of $350.00, I will
deduct a total of $87.50 (representing one half-hour billed at a rate of $175.00 an hour) for time
spent in transit. Petitioner’s counsel will therefore receive attorneys’ fees in the amount of
$42,875.00 and attorneys’ costs in the amount of $6,398.04, for a total of $49,273.04.

       Based on the foregoing and the reasonableness of the remainder of petitioner’s request
and the lack of opposition from respondent, the undersigned GRANTS petitioner’s motion for
attorneys’ fees and costs as set forth below.

       The undersigned awards the total of $49,273.044 as follows:

               A lump sum of $49,273.04, representing reimbursement for attorneys’ fees
               and costs, in the form of a check payable jointly to petitioner, Michael
               Purcell, and petitioner’s counsel, Matthew Belanger.




3
  My chambers confirmed with respondent’s counsel that he did not object to the amount
requested, though respondent’s lack of objection is not construed as an admission, concession, or
waiver as to the hourly rates requested, the number of hours billed, or other costs related to
litigation.
4
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for
legal services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or
collecting fees (including costs) that would be in addition to the amount awarded herein. See
generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir.1991).

                                                2
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       The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                              s/ Mindy Michaels Roth
                                 Mindy Michaels Roth
                                 Special Master




5
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.

                                                3
